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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

MANHATTAN TELECOMMUNICATIONS :
CORP. D/B/A METROPOLITAN     :
TELECOMMUNICATIONS,          :
A/K/A METTEL                 :
                             :
                  Plaintiff, :                    C.A. No. 1:20-cv-00857-CFC
                             :
          v.                 :
                             :
GRANITE TELECOMMUNICATIONS,  :
LLC,                         :
                             :
                  Defendant. :

          MOTION AND ORDER FOR ADMISSION PRO HAC VICE
               Pursuant to D. Del. Local Rule 83.5 and the attached certifications,

counsel moves the admission pro hac vice of T. Christopher Donnelly and Joshua N.

Ruby of DONNELLY, CONROY & GELHAAR, LLP 260 Franklin Street, Suite 1600,

Boston, MA 02110 to represent Defendant Granite Telecommunications, LLC in this

matter.

                               MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                               /s/ A. Gage Whirley
                               R. Judson Scaggs, Jr. (#2676)
                               Barnaby Grzaslewicz (#6037)
                               A. Gage Whirley (#6707)
                               1201 North Market Street
                               Wilmington, DE 19801
                               (302) 658-9200
                                  Attorneys for Granite Telecommunications, LLC
July 7, 2020
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                       ORDER GRANTING MOTION
             IT IS HEREBY ORDERED that counsel’s motion for admissions pro

hac vice is granted.


Dated: ______________________
                                     United States District Judge
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   CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

      Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this

Court, am admitted, practicing and in good standing as a member of the Bar of the

Commonwealth of Massachusetts and pursuant to Local Rule 83.6 submit to the

disciplinary jurisdiction of this Court for any alleged misconduct which occurs in

the preparation or course of this action. I also certify that I am generally familiar

with this Court's Local Rules. In accordance with Standing Order for District

Court Fund effective September 1, 2016, I further certify that the annual fee of


$25.00 has been paid   Dx to the Clerk of Court, or, if not paid previously, the fee

payment will be submitted D to the Clerk's Office upon the filing of this motion.


Dated:
         -::r/c tz, U                            T. Christop !Donnelly
                                                 Donnelly, onroy & Gelhaar, LP
                                                 260 Franklin Street, Suite 16 0
                                                 Boston, MA 02110
                                                 (617) 720-2880
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               X
